 Case: 4:09-cr-00222-HEA            Doc. #: 140 Filed: 08/13/09             Page: 1 of 1 PageID #:
                                               349

                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


UNITED STATES OF AMERICA, et al.,                   )
                                                    )
            Plaintiff(s),                           )
                                                    )
      vs.                                           )           Case No. 4:09CR00222 HEA
                                                    )
DANIEL HARDCASTLE,                                  )
                                                    )
            Defendant(s).                           )

                                               ORDER

         The purpose for which cash bail was posted in the above styled matter having now been

served, the Clerk is hereby ORDERED to draw a Registry Check in the sum of $1,740.00 to the

surety of record.




                                                    HENRY EDWARD AUTREY
                                                    UNITED STATES DISTRICT JUDGE

            Dated this 13th day of August, 2009.

  **************************************************************************
                    VERIFICATION OF DEFENDANT'S STATUS
                        (to be completed by the district Court)

I certify that the amount of the bond listed above is being held in the Registry of the United States
District Court-Eastern district of Missouri. I also certify that the status of the defendant is such that
the conditions of the bond have been met as of this 13th day of August, 2009.


                                                    /s/ Cynthia Kornberger
                                                        Deputy Clerk
